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                   UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION

STEVEN BLAKE CUMMINGS,

     Movant,

V.                                              Case No. CV616-080
                                                         CR6 15-00 1
UNITED STATES OF AMERICA,

     Respondent.

                   REPORT AND RECOMMENDATION
     Having pled guilty to, and been sentenced for, distribution of

cocaine, (doc. 215 (plea agreement)', doc. 260 (judgment)), Steven

Cummings moves under 28 U.S.C. § 2255 for resentencing absent a

career offender sentencing enhancement. Doe. 324. Preliminary review

under Rule 4 of the Rules Governing Section 2255 Proceedings shows

that his motion must be denied.

      Cummings' Presentence Investigation Report (PSR) deemed him a

career offender under U.S.S.G. § 4B1.1 based on prior convictions for

sale of cocaine, possession with intent to distribute (PWID) marijuana,


1 All citations are to the criminal docket unless otherwise noted and all page
numbers are those imprinted by the Court's docketing software.
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and cocaine PWID. PSR ¶ 27. After adopting the PSR, the Court

sentenced him to 156 months' imprisonment. Doc. 260 (entered

November 10, 2015). Because he never appealed, Cummings' conviction

became final on November 24, 2015. Fed. R. App. P. 4(b)(1)(A) (criminal

defendants must file a notice of appeal within 14 days of the entry of

judgment).

     Cummings filed the instant § 2255 motion less than one year

later. Doc. 324 at 8 (filed June 23, 2016). He argues that Johnson v.

United States, U.S. -, 135 S. Ct. 2551 (2015), eliminates his drug

offenses as predicates for his 4B1.1 enhancement, and thus that he no

longer qualifies as a career offender. Doe. 325 at 1-5.

     The Armed Career Criminal Act ("ACCA") -- the statute Johnson

addressed -- provides enhanced penalties for defendants who are (1)

convicted of being felons in possession of firearms in violation of 18

U.S.C. § 922(g) and (2) have "three prior convictions . . . for a violent

felony or a serious drug offense, or both." It defines "violent felony" as,

among other things, a felony that "otherwise involves conduct that

presents a serious potential risk of physical injury to another."   Id. at §

924(e)(2)(B). Johnson found that "residuar' clause so vague as to violate


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due process. See 135 S. Ct. at 2557. Importantly, it said nothing about

"serious drug offenses," which remain a valid basis for ACCA

enhancements.       See Id. at 2563 ("Today's decision does not call into

question application of the Act to the four enumerated offenses, or the

remainder of the Act's definition of a violent felony," much less its

definition of "serious drug offense").

      The Sentencing Guidelines career offender enhancement's "crime

of violence" definition includes the same vague residual clause that

Johnson found unconstitutional. U.S.S.G. § 4B1.2(a)(2). If (1)

Johnson's animating logic applies to the Guidelines, and (2) two of

Cummings' predicate convictions qualifies as a "crime of violence" under

§ 01.1's residual clause, 2 his career offender enhancement is

unconstitutional.

      At least in this circuit, Johnson does not apply to the Guidelines.

    By its terms, the decision of the Supreme Court in Johnson is
    limited to criminal statutes that define elements of a crime or fix
    punishments. . . . The Armed Career Criminal Act defines a crime
    and fixes a sentence, see 18 U.S.C. § 924(e), but the advisory
    guidelines do neither.


2   Unlike ACCA, which requires three predicates, § 4B1.1 asks only for two.
Cummings' career offender enhancement rested on three controlled substance
offense predicates, PSR 127, so here he would have to show the elimination of two
to triumph under Johnson's rationale.
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The Sentencing Guidelines are merely "the starting point and the
initial benchmark," Gall v. United States, 552 U.S. 38, 49, 128
S.Ct. 586, 596, 169 L.Ed.2d 445 (2007), designed to "assist. . . the
sentencing judge" in determining a sentence, United States v.
 Tichenor, 683 F.3d 358, 364 (7th Cir. 2012) (quoting United States
v. Brierton, 165 F.3d 1133, 1139 (7th Cir. 1999)). In the end, a
sentencing judge "must make an individualized assessment based
on the facts presented" and "may not presume that the Guidelines
range is reasonable." Gall, 552 U.S. at 50, 128 S.Ct. at 596-97.
"The sentencing judge's authority to exercise discretion
distinguishes the Guidelines from criminal statutes in a
significant and undeniable manner." Tichenor, 683 F.3d at 365.

The vagueness doctrine, which "rest[s] on [a] lack of notice,"
Maynard v. Cartwright, 486 U.S. 356, 361, 108 S.Ct. 1853, 1857,
100 L.Ed.2d 372 (1988), does not apply to advisory guidelines. The
Supreme Court has explained that "[a]ny expectation subject to
due process protection. . . that a criminal defendant would receive
a sentence within the presumptively applicable guideline range
did not survive [the] decision in United States v. Booker." Irizarry
v. United States, 553 U.S. 708, 713, 128 S.Ct. 2198, 2202, 171
L.Ed.2d 28 (2008). Another circuit has already held that "Wince
the Guidelines are merely advisory, defendants cannot rely on
them to communicate the sentence that the district court will
impose. Defendants' inability to look to the Guidelines for notice
underscores why . . . they cannot bring vagueness challenges
against the Guidelines." Tichenor, 683 F.3d at 365 (footnote
omitted).

'Because there is no constitutional right to sentencing
guidelines—or, more generally, to a less discretionary application
of sentences than that permitted prior to the Guidelines—the
limitations the Guidelines place on a judge's discretion cannot
violate a defendant's right to due process by reason of being
vague.' United States v. Wive]], 893 F.2d 156, 160 (8th Cir. 1990).




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United States v. Matchett, 802 F.3d 1185, 1194-95 (11th Cir. 2015); In

re. Marvin Griffin, - F.3d_, 2016 WL 3002293 at * 4(11th Cir. May

25, 2016) (even mandatory sentencing guidelines cannot be

unconstitutionally vague).

      Even if Johnson applied to the Guidelines, Cummings' § 4B1.1

enhancement remains valid because controlled substance offenses, not

crimes of violence, served as predicates.         See PSR ¶ 27. Recall that

Johnson says nothing about the viability of "serious drug offense" 3

predicates. See 135 S. Ct. at 2563; see also In re Williams,             F.3d -,

2016 WL 3460899 at * 4 (11th Cir. June 24, 2016) ("Since the §

841(b)(1)(A) mandatory life sentence is triggered by prior convictions for

a 'felony drug offense,' it is not even arguably affected by Johnson's

holding regarding the ACCA's residual-clause definition of a violent

felony."). The phrase "controlled substance offense" in § 4B1.2 (which

defines terms used in § 4B1.1) covers similar ground as that ACCA



   Under ACCA, "serious drug offense" means, among other things, "an offense
under State law, involving manufacturing, distributing, or possessing with intent to
manufacture or distribute, a controlled substance (as defined in section 102 of the
Controlled Substances Act (21 U.S.C. 802)), for which a maximum term of
imprisonment of ten years or more is prescribed by law." 18 U.S.C. §
924(e)(2)(A)(ii).

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phrase. 4 And just as Johnson's logic failed to implicate drug offenses in

the ACCA context, so too does it not apply to "controlled substance

offenses" for Guidelines purposes. 5

      Accordingly, Cummings' § 2255 motion should be DENIED.

Applying the Certificate of Appealability (COA) standards set forth in

Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue either. 28 U.S.C. § 2253(c)(1) Rule

11(a) of the Rules Governing Habeas Corpus Cases Under 28 U.S.C. §

2255 ("The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.")

' "[C]ontrolled substance offense means an offense under federal or state law,
punishable by imprisonment for a term exceeding one year, that prohibits the
manufacture, import, export, distribution, or dispensing of a controlled substance
(or a counterfeit substance) or the possession of a controlled substance (or a
counterfeit substance) with intent to manufacture, import, export, distribute, or
dispense." U.S.S.G. § 4B1.2(b).

   Cummings takes this line of argument to the next level -- he contends that
Georgia convicted him of non-felonious drug offenses that cannot serve as controlled
substance predicates regardless of Johnson's applicability. Doc. 325 at 5-7.
Scrutiny belies that claim. All three of his predicates PWID of cocaine and
marijuana, and sale of cocaine meet 4B1.1's "controlled substance offense"
definition (they also satisfy ACCA's "serious drug offense" clause, which requires
more imprisonment to qualify for enhancement than do the Guidelines). Compare
U.S.S.G. § 4B1.2(b), with O.C.G.A. 16-13-30 (people who sell, or possess with intent
to distribute, cocaine or marijuana "shall be guilty of a felony and, upon conviction
thereof, shall be punished by imprisonment for not less than five years nor more
than 30 years").

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        F,




(emphasis added). Any motion for leave to appeal in forma pauperis

therefore is moot.



        SO REPORTED AND RECOMMENDED this 29th day of June,

2016.



                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA




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